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                       THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                              MARSHALL DIVISION


DISPLAY TECHNOLOGIES, LLC,

                      Plaintiff,                       Civil Action No. 2:15-cv-00193
              v.
                                                        JURY TRIAL DEMANDED
NIKON, INC.,
                      Defendant.

                   JOINT MOTION TO STAY ALL DEADLINES
                        AND NOTICE OF SETTLEMENT

        Plaintiff Display Technologies, LLC and Defendant Nikon, Inc. hereby notify the Court

that all matters in controversy in the action between these two parties have been settled, in

principal. The parties request a stay of 30 days of all deadlines to afford them time to complete

the execution of a settlement agreement and to submit appropriate dismissal papers.




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      DATED May 24, 2017.                          Respectfully submitted,

                                                   /s/ Thomas C. Wright
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                                                   ATTORNEY FOR DEFENDANT
                                                   NIKON, INC.



                               CERTIFICATE OF SERVICE

      I certify that a true and correct copy of the foregoing has been served upon counsel of

record via the Court’s CM/ECF system on May 24, 2017.


                                                   /s/ Thomas C. Wright




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